                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,                   Case No. 06-CR-2 (RTR)
              v.

ROBERT BRIDGES,

                              Defendant.


                      ORDER GRANTING LEAVE FOR DISMISSAL
                                OF INDICTMENT


       Upon the government's request and pursuant to Rule 48(a) of the Federal Rules of

Criminal Procedure,

       IT IS HEREBY ORDERED that leave of the court is granted for the filing of the

forgoing dismissal without prejudice of the indictment in the above-referenced matter against the

defendant, Robert Bridges.

       SO ORDERED this 7th day of June 2006.



                                            s/ Rudolph T. Randa
                                            HONORABLE RUDOLPH T. RANDA
                                            Chief United States District Judge




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